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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                               :
                                                       :
           v.                                          :        CRIMINAL NO. 21-CR-708 (RCL)
                                                       :
                                                       :
LEO KELLY                                              :


         DEFENDANT’S UNOPPOSED MOTION TO VACATE AND RESET
            FEBRUARY 10TH, 2023 STATUS CONFERENCE VIA VTC

           The defendant, Leo Kelly, by counsel, respectfully moves this Honorable

Court to vacate the status hearing set for February 10, 2023, and in support of his

request states the following:

      1. This Court set a status hearing via VTC in this case on February 3, 2023, in

           a minute order filed last Friday afternoon. Undersigned counsel was in a

           hearing until 5 p.m. that day.

      2. Undersigned counsel will be out of the country and unavailable on February

           10th, 2023. Therefore, the parties have conferred and the following three

           dates are requested by the parties for the status hearing: February 9 between

           the hours of 12 and 4 p.m.; March 10 between the hours of 11:30-5 p.m. and

           March 17 between the hours of noon and 5 pm.1



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    Undersigned counsel will be in trial the week of March 13, 2023, but expects to be done by March 17, 2023.

                                                           1
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3. Undersigned counsel conferred with AUSA Mike James who does not

  oppose this motion.

                               Respectfully submitted,



                               By: Kira Anne West



                                   /s/
                               Kira Anne West
                               DC Bar No. 993523
                               712 H. Street N.E., Unit 509
                               Washington, D.C. 20002
                               (202)-236-2042
                               kiraannewest@gmail.com
                               Attorney for Leo Kelly




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                                       Certificate of Service
I certify that a copy of the forgoing was filed electronically on ECF for all parties of record on
                                  this 6th day of February, 2023.
                                           ____/s/______
                                          Kira Anne West
                                      Attorney for Leo Kelly




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